                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE



In re:                                                           Chapter 11

EXIDE TECHNOLOGIES,1                                             Case No. 13-11482(KJC)

                            Reorganized Debtor.


                        NOTICE OF AGENDA OF MATTERS
          ~C~IE~iJLED F()R I~E~iI~II+iG Oi~T NOi~~1i~i~~I~ 29,2018 AT 10:~~ A.i~~.

     The hearing will be held at the United States I3anki~uptc3~ Court for the District of
  Dela«~are, 824 Market Street, 5th Floor, Courtroom No. 5, Wilmington, Delaware 19801.

          Any party participating telephonically should make arrangements through
             CourtC~ll by telephone (866-582-6878) or facsimile (866-533-2946),
              no later than 12:00 p.m., one (1) business clay before the hearing.

MATTERS GOING FORWARD

         Eleventh Omnibus Claims Obiectioil —Debtor's(Non-Substantive) Eleventh Omnibus
         Objection Pursuant to Bankruptcy Code Section 502(b), Bankruptcy Rule 3007, and
         Local Rule 3007-1 to Certain (I) Aiuended and Superseded Claims,(II) Insufficient
         Documentation Claims [Filed: 9/12/14 (Docket No. 2260).

         Response Deadline:        September 26, 2014 at 4:00 p.m. Eastern Tirne.

         Responses Received:

         (a)     Response of Claimant James Cannon. Jr., Claim #1993, to Debtor's(Non-
                 Substantive) Eleventh Omnibus Objection [Filed: 9/24/14](Docket No. 2328);
                 Proof of Claim No. 1993.

         Replies Filed:

         (a)      Reorganized Debtor's Oulnibus Reply in Support of the Reorganized Debtor's
                  Objections to Certain Insufficient Documentation and No Liability employee or
                  Retiree Claims [Filed: 9/17/18](Docket No. 5082).




' The last four' digits of the Reorganized llebtor's taxpayer identification number are 2730. The Reorganized
Debtor's corporate headquarters are located at 13000 Deerfield Parkway, Building 200, Milton, Georgia 30004.


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        Related Documents:

       (a)       Notice of Submission of Proofs of Claim [Filed: 9/30/14](Docket No. 2359).

       (b)       [Signed] Order Sustaining Debtor's(Non-Substantive) Eleventh Omnibus
                 Objection Pursuant to Bankruptcy Code Section 502(b), Bankruptcy Rule 3007,
                 and Local Rule 3007-1 to Certain (I) Amended and Superseded Claims,(II)
                 Insufficient Documentation Claims [Filed: 10/14/14](Docket No. 2397).

        (c)      Re-Notice of Hearing with Respect to Certain Omnibus Objections to Claims
                 [Filed: 9/17/18](Docket No. 5083).

        Status: This matter will go forward.

2.      Fifteenth Omnibus Claims Objection —Debtor's(Non-Substantive) Fifteenth Omnibus
        Objection Pursuant to Bankruptcy Code Section 502(b), Bankruptcy Rule 3007, and
        Local Rule 3007-1 to Certain Insufficient Documentation Claims [Filed: 4/24/15]
        (Docket No. 3553).

        Response Deadline:      May 8, 2015 at 4:00 p.m. Eastern Time.

        Responses Received:

        (a)       Response of Jerry Coleman [Filed: 5/6/15](Docket No. 3607); Proof of Claim
                  No. 1026.

        (b)       Response of Reynaldo Rodriguez [Filed: 5/8/15](Docket No. 3617); Proof of
                  Claim No. 1527.

        (c)       Response of Michael Prude [Filed: 5/8/15](Docket No. 3618); Proof of Claim
                  No. 2394.

        (d)       Response of Francis Horn [Piled: 6/18/15](Docket No. 4253); Proof of Claim No.
                  1744.

        (e)       Informal Response of Melvin Pearson; Proof of Claim No. 2182.

         Relies Filed:

        (a)       Reorganized Debtor's Omnibus Reply in Support of the Reorganized Debtor's
                  Objections to Certain Insufficient Documentation and No Liability Employee or
                  Retiree Claims [Filed: 9/17/18](Docket No. 5082).

        (b)       Reol•ganized Debtor's Omnibus Reply in Support of the Reorganized Debtor's
                  Objections to Certain Insufficient Documentation, No Liability, Previously
                  Discharged and Misclassified Former Employee Claims [Filed: 10/18/18](Docket
                  No. 5091).



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       Related Documents:

       (a)      Notice of Submission of Proofs of Claim [Filed: 6/17/15](Docket No. 4243).

       (b)     [signed] Order Sustaining Debtor's (Non~Substantive) Fifteenth Omnibus
               Objectian Pursuant to Bankz•uptcy Code Section 502(b), Bankruptcy Rule 3007,
               and Local Rule 3007-1 to Insufficient Documentation Claims [Filed: 6/29/15]
               (Docket No. 4338).

       (c)      Re-Notice of Hearing with Respect to Certain Omnibus Objections to Claims
                [Filed: 9/17/18](Docket No. 5083).

       (d)      Re-Notice of Hearing with Respect to Certain Omnibus Objections to Claims
                [Filed: 10/19/18](Docket No. 5092).

        Status: This matter will go forward.

3.      Sixteenth Omnibus Claims Objection —Reorganized Debtor's (Substantive) Sixteenth
        Omnibus Objection Pursuant to Bankruptcy Code Section 502(b), Bankruptcy Rule 3007,
        and Local Rule 3007-1 to Certain No Liability Employee or Retiree Claims [Filed:
        4/30/15](Docket No. 3572).

        Re~onse Deadline:      May 15, 2015 at 4:00 p.m. Eastern Time.

        Responses Received.:

       (a)      Response of Roger D. Coddington [Filed: 5/13/15](Docket No. 3632); Proof of
                Claim No. 1656.

       (b)      Response of Willard A. Connor [Filed: 5/14/15](Docket No. 3641); Proof of
                Claim No. 1052.

        Relies Filed:

        (a)      Reorganized Debtor's Omnibus Reply in Support of the Reorganized Debtor's
                 Objections to Certain Insufficient Documentation and No Liability Employee or
                 Retiree Claims [Filed: 9/17/18](Docket No. 5082).

        Related Documents:

        (a)      Notice of Submission of Proofs of Claim [Filed: 6/17/15](Docket No. 4243).

        (b)     [Signed] Order Sustaining Reorganized Debtor's (Substantive) Sixteenth
                Omnibus Objection Pursuant to Bankruptcy Code Section 502(b), Bankruptcy
                Rule 3007, and Local Rule 3007-1 to Certain No Liability Employee Retiree
                Claims [Filed: 6/29/15](Docket No. 4340).

        (c)      Re-Notice of Hearing with. Respect to Certain Omnibus Objections to Claims
                 [Filed: 9/17/18](Docket No. 5083).

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       Status: This matter will go forward.

4.     Se~~enteentli Om~iibus Claims Ob_~ection —Reorganized Debtor's (Substantive)
       Seventeenth Omnibus Objection Pursuant to Bankruptcy Code Section 502(b),
       Bankruptcy Rule 3007, and Local Rule 3007-1 to Certain No Liability Employee or
       Retiree Claims [Filed: 4/30/15](Docket No. 3573).

       Response Deadline: May 15, 2015 at 4:00 p.m. Eastern Time.

       Responses Received:

       (a)     Response of Willie James Jones Jr. [Filed: 5/14/15](Docket No. 3639); Proof of
               Claim No. 911.

       Replies Filed:

       (a)     Reorganized Debtor's Omnibus Reply in Support of the Reorganized Debtor's
               Objections to Certain Insufficient Documentation and No Liability Employee or
               Retiree Claims [filed: 9/17/18](Docket No. 5082).

       Related Documents:

       (a)      Notice of Submission of Proofs of Claim [Filed: 6/17/15](Docket No. 4243).

       (b)     [Signed] Order Sustaining Reo~•ganized Debtor's (Substantive) Seventeenth
               Omnibus Objection Pursuant to Bankruptcy Code Section 502(b), Bankruptcy
               Rule 3007, and Local Rule 3007-1 to Certain No Liability Employee or Retiree
               Claims [Filed: 6/29/15](Docket No. 4341).

       (c)     Re-Notice of Hearing with Respect to Certain Omnibus Objections to Claims
               [Filed: 9/17/18](Docket No. 5083).

        Status: This matter will go forward.

       Eighteenth Omnibus Clai►ns Ob.iectioii —Reorganized Debtor's (Substantive)
       Eighteenth Omnibus Objection Pursuant to Bankruptcy Code Section 502(b), Bankruptcy
       Rule 3007, and Local Rule 3007-1 to Certain(A)No Liability Employee or Retiree
       Claims,(B)Misclassified Claims,(C)Previously Discharged Claims, and(D)No
       Liability Claims [Filed: 5/29/15](Docket No. 3735).

        Response Deadline: June 12, 2015 at 4:00 p.m. Eastern Time.

        Responses Received:

       (a)      Informal Response of Melvin Pearson; Proof of Claiin No. 2182.




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      Replies Filed:

      (a)     Reorganized Debtor's Omnibus Reply in Support of the Reorganized Debtor's
              Objections to Certain Insufficient Documentation and No Liability Employee or
              Retiree Claims [Filed: 9/17/18](Docket No. 5082).

      Related Documents:

      (a)     Notice of Submission of Proofs of Claim [Filed: 6/17/15](Docket No. 4243).

      (b)     [Signed] Order Sustaining Reorganized Debtor's (Substantive) Eighteenth
              Omnibus Objection Pursuant to Bankruptcy Code Section 502(b), Bankruptcy
              Rule 3007, and Local Rule 3007-1 to Certain(A)No Liability Employee or
              Retiree Claims,(B)Misclassified Claims,(C)Previously Discharged Claims, and
              (D)No Liability Claims [Filed: 6/29/15](Docket No. 4342).

      (c)     [Signed] Amended Order Sustaining Reorganized Debtor's (Substantive)
              Eighteenth Omnibus Objection Pursuant to Bankruptcy Code Section 502(b),
              Bankruptcy Rule 3007, and Local Rule 3007-1 to Certain(A)No Liability
              Employee or Retiree Claims,(B) Misclassified Claims,(C)Previously
              Discharged Claims, and(D)No Liability Claims [Filed: 7/2/15](Docket No.
              4370).

      (d)      Re-Notice of Hearing with Respect to Certain Omnibus Objections to Claims
               [Filed: 9/17/18](Docket No. 5083).

       Status: This matter will go forward.

6.     Nineteenth Omnibus Claims Ob.iectiou —Reorganized Debtor's (Substantive)
       Nineteenth Omnibus Objection Pursuant to Bankruptcy Code Section 502(b), Bankruptcy
       Rule 3007, and Local Rule 3007-1 to Certain(A)Misclassified Claims,(B)Reduce and
       Allow Claims,(C)Previously Discharged Claims,(D)No Liability Claims,(E)
       Contingent Contribution Claims,(F)Protective Environmental Claims, and(G)
       Insufficient Documentation Claims [Piled: 5/29/15](Docket No. 3739).

       Response Deadline:    June 12, 2015 at 4:00 p.m. Eastern Time.

       Responses Received:

       (a)     Response of Don F. Smith, Jr. [Filed: 6/16/15](Docket No. 4252); Proof of Claiin
               No. 140E

       (b)     Informal Response of Rachel Clay; Proof of Claim No. 1774.

       Relies Tiled:

       (a)     Reorganized Debtor's Omnibus Reply in Support of the Reorganized Debtor's
               Objections to Certain Insufficient Documentation, No Liability, Previously



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                 Discharged and Misclassified Former Employee Claims [Filed: 10/18/18](Docket
                 No. 5091).

        Related Documents:

       (a)       Notice of Submission of Proofs of Claim [Filed: 6/l 7/15](Docket No. 4243).

       (b)      [Signed] Order Sustaining Reorganized Debtor's (Substantive) Nineteenth
                Omnibus Objection Pursuant to Bankruptcy Code Section 502(b), Bankruptcy
                Rule 3007, and Local Rule 3007-1 to Certain(A) Misclassified Claims,(B)
                Reduce and Allow Claims,(C)Previously Discharged Claims,(D)No Liability
                Claims,(E)Contingent Contribution Claims,(F)Protective Environmental
                Claims, and(G)Insufficient Documentation Claims [Filed: 6/29/15](Docket No.
                4343).

       (c)       [Signed] Amended Order Sustaining Reorganized Debtor's (Substantive)
                 Nineteenth Omnibus Objection Pursuant to Bankruptcy Code Section 502(b),
                 Bankruptcy Rule 3007, and Local Rule 3007-1 to Certain(A)Misclassified
                 Claims,(B)Reduce and Allow Claims,(C)Previously Discharged Claims,(D)
                 No Liability Claims,(E) Contingent Contribution Claims,(T)Protective
                 Environmental Claims, and(G)Insufficient Documentation Claims [Filed:
                 7/2/15](Docket No. 4371).

       (d)       Re-Notice of Hearing with Respect to Certain Omnibus Objections to Claims
                 [Filed: 10/19/18](Docket No. 5092).

        Status: This matter will. go forward.




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Dated: November 27, 2018

                           FOX ROTHSCHILD LLP
                           Robert M. Fishman
                           Allen 3. iJuon
                           321 N. Clark Street, Suite 800
                           Chicago, IL 60654
                           Telephone: (312)541-0151
                           Facsimile: (312)980-3888
                           Email:      rfishman@foxrothschild.com
                                       aguon@foxrothschild.com

                           CounselfoN the ReoNganized Debtor

                           -and-

                           P~GHULSKI STANG ZIEHL &JONES LLP


                            a a Davis Jones(Bar No. 2436)
                               es E. O'Neill (Bar No. 4042)
                           919 N. Market Street, 17th Floor
                           Wilmington, DE 19801
                           Telephone: (302)652-4100
                           Facsimile: (302)652-4400
                           Email:     ljones@pszjlaw.com
                                      joneill@pszjlaw.com

                           Special Conflicts Counselfog the Reo~~ganized DebtoN




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